EXHIBIT B
                   IN THE UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF WASHINGTON – SEATTLE DIVISION

                                               )
 LOZANO, et al.,                               )
                                               )                 2:22-mc-00078-RSL
          Plaintiffs,                          )
                                               )
 v.                                            )
                                               )
 DOE, et al.,                                  )
                                               )
          Defendants


              DECLARATION OF STEFANIA JOANNE RAMOS BIRCH ESQ.
           IN SUPPORT OF THIRD-PARTY’S MOTION TO QUASH SUBPOENA

I, Stefania Joanne Ramos Birch Esq., declare:

      1. My name is Stefania Joanne Ramos Birch, and I am an attorney residing in the State of

         Washington, licensed in the States of Washington and California. I am an immigration law

         practitioner who owns and operates a solo practice located in Lynnwood, Washington. I

         primarily work with the immigrant community offering legal services in the areas of

         deportation defense, family-based petitions, asylum, citizenship, residency, and

         humanitarian benefits such as protection under the Violence Against Women Act

         (“VAWA”), U-Nonimmigrant Status, and T-Nonimmigrant Status.

      2. The underlying Complaint was filed on August 10, 2022 in the Southern District of Ohio,

         Lozano, et al. v. Doe, et al., 2:22-cv-03089.

      3. Plaintiffs in the underlying matter are: Alexandra Lozano (“Plaintiff Lozano”), an

         immigration attorney licensed in and residing in the State of Washington; Angelyne

         Lisinski (“Plaintiff Lisinski”), an immigration attorney licensed in and residing in the State
   of Ohio; and Gulia Fantacci (“Plaintiff Fantacci”), an immigration attorney licensed in and

   residing in the State of Florida.

4. Former Plaintiff Lauren Eagan, an immigration attorney licensed in the District of

   Columbia and residing in the State of Virginia, filed a Motion to Withdraw as a Plaintiff

   from the litigation on August 23, 2022, which was granted on August 24, 2022.

5. On August 10, 2022, concurrent with the filing of the Complaint, Plaintiffs filed a Motion

   for Leave to Serve Third Party Subpoenas prior to a Rule 26(f) conference.

6. On August 12, 2022, United States Magistrate Judge Kimberly A. Jolson granted Plaintiffs’

   motion.

7. On September 16, 2022, I was served with a third-party subpoena for deposition and

   document production in this matter with a deadline of October 7, 2022.

8. The subpoena requests documents and/or communications, including text messages, e-

   mails, and social media posts referring or related to Plaintiff Lozano and/or Alexandra

   Lozano Immigration Law, Plaintiff Lisinski and/or Lisinski Law, Plaintiff Fantacci and/or

   DF Immigration, and the phrase “arreglar sin salir” from June 2020 to present.

9. As I am not a party to the complaint, I had no notice of the suit prior to September 16,

   2022. The subpoena thus required me to comply approximately 21 calendar days after

   service.

10. I am profoundly concerned regarding the present discovery demand as its request for

   several years of text messages, e-mails, and social media posts is overbroad, overly

   burdensome, and an invasion of my privacy. Plaintiffs’ counsel does not indicate why June

   2020 to present is a relevant discovery timeframe, and without explanation is overbroad

   and arbitrary.
11. Additionally, I believe that Plaintiff Lozano, through counsel, pursued the third-party

   subpoena against me as retaliation for a comment that I posted on a thread in a private,

   attorney-only Facebook group in approximately February of 2021, and that she selected

   the Southern District of Ohio as venue for the present Complaint because, unlike the States

   of Washington and California, Ohio does not have anti-SLAPP statutes.

12. The comment that I made on the thread in the private Facebook group was to voice my

   concerns regarding ethical issues related to Plaintiff Lozano’s practice of immigration law

   in the State of Washington. Previously, a client consulted with me for a second opinion

   after first consulting with Plaintiff Lozano, and indicated that Plaintiff Lozano encouraged

   him/her to retain her for legal services in the amount of $12,000 to apply for an immigration

   benefit under VAWA. In order to qualify under VAWA, there must be a finding of battery

   or extreme cruelty by a U.S. citizen or lawful permanent resident family member. When

   the client consulted with me, s/he unequivocally indicated that s/he was not subjected to

   battery or extreme cruelty by their U.S. citizen or lawful permanent resident family member

   and yet she was encouraged by Plaintiff Lozano to mislead the government in an

   application for VAWA benefits. Thus, I determined that my client was ineligible for

   VAWA as previously claimed by Plaintiff Lozano and that Plaintiff Lozano was

   encouraging him/her to mislead the government for financial benefit ($12,000). My

   comment on the Facebook thread indicated my concerns to a private group of immigration

   law practitioners.

13. On the aforementioned Facebook thread, numerous other immigration attorneys posted

   similar client experiences with Plaintiff Lozano and expressed serious concerns over her

   business practices as well as deceptive tactics to retain clients. For context, most non-
       immigrants who enter the U.S. without inspection must leave the U.S. in order to regularize

       their immigration status, save for a limited number of exceptions. However, Plaintiff

       Lozano uses the tagline “arreglar sin salir” or “fix without leaving” heavily in her social

       media marketing, as though she can help most people to regularize their status without

       having to follow the normal process of leaving the U.S. She relies on a narrow exception

       to the general rule based on VAWA (which requires a finding of battery or extreme cruelty

       by a U.S. citizen or lawful permanent resident family member). Plaintiff Lozano’s business

       practices and social media marketing has been highly controversial within the immigration

       legal community and resulted in immigration practitioners discussing her practices on the

       aforementioned Facebook thread.

    14. I believe that it is our duty, as lawyers and officers of the court, to openly discuss ethical

       issues as they affect our practice and our clients, especially as they pertain to a particularly

       vulnerable group of the immigrant population.

    15. On March 11, 2021, I received a letter via email from Plaintiff Lozano, through counsel

       unlicensed in the State of Washington, entitled: “Immediate Action Required – Removal of

       Defamatory Posts on Facebook” (essentially a cease-and-desist demand). Plaintiff Lozano

       accused me of alleged “defamation” and demanded the removal of my comment on the

       Facebook post within 5 calendar days or threatened the initiation of litigation against me.

       Plaintiff Lozano, through counsel, also sent approximately 25-30 1 of these cease-and-desist

       letters to immigration attorneys located all over the United States, similarly alleging

       “defamation” and threatening litigation. (These attorneys also posted comments on the




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  This is my best approximate guess as to how many cease-and-desist letters were sent to
immigration attorneys across the U.S.
   Facebook thread). Upon learning of the voluminous cease-and-desist letters, the Facebook

   administrator of the private group almost immediately removed the thread in its entirety,

   ipso facto my comment. Thereafter, Plaintiff Lozano did not initiate any legal proceedings

   against me. For a year and a half, the matter seemed resolved.

16. After receiving service of Plaintiff Lozano’s subpoena on September 16, 2022, I contacted

   Plaintiffs’ counsel via telephone on that date and spoke with Senior Counsel Kristen Fraser

   at Organ Law LLP in Ohio, the attorneys for Plaintiffs. As a non-defendant to the

   underlying suit, I had no prior knowledge regarding the litigation nor the legal claims at

   issue therein. I asked her what the litigation was regarding and was informed that it was

   about reports being made against Plaintiffs’ advertising videos on Facebook, TikTok, and

   Glassdoor such that the videos were being removed by the social media platforms. (I have

   since read the Complaint in its entirety and am now aware of the lawsuit’s underlying legal

   issues). Plaintiff’s counsel made it seem like I was only a person of interest for discovery

   and deposition due to the prior cease-and-desist demand previously sent by Plaintiff

   Lozano.

17. During that conversation, I informed Plaintiffs’ counsel that I am nine months pregnant

   with an imminent due date and unable to perform discovery or sit for a deposition on

   October 7, 2022. Plaintiffs’ counsel indicating understanding of my medical situation and

   suggested moving discovery and deposition to November or December.

18. On September 21, 2022, Plaintiffs’ counsel then requested via email document discovery

   by October 14, 2022 and a Zoom deposition during the third or fourth week of September.

   On September 23, 2022, I responded to Plaintiffs’ counsel with correspondence from my

   medical provider indicating that my due date is October 17, 2022, I am having pregnancy-
   related medical complications, and therefore cannot be expected to be in court or sit for a

   deposition at any point after October 1, 2022. I indicated via email that my earliest

   availability would be December. On September 27, 2022, Plaintiffs’ counsel requested

   document production and deposition on December 12.

19. I have not engaged in any of the conduct alleged in the Complaint (online harassment,

   reporting of social media posts, tortious interference with business relations, intellectual

   property infringement, etc.) against any of the Plaintiffs.

20. Furthermore, I do not have knowledge of the person, persons, or entities purportedly

   responsible for the conduct alleged in the Complaint.

21. I have no connection whatsoever to the conduct alleged in the Complaint nor to the legal

   issues specified therein.

22. Plaintiff Lozano is an immigration practitioner in the same general area as my law office

   and we have had prior mutual clients in common. I know of her in a professional capacity

   only. Prior to the receipt of the third-party subpoena on September 16, 2022, I had no prior

   knowledge of Plaintiff Lisinski or Plaintiff Fantacci or their law offices. I have no

   professional or social media contacts with either of them. I have engaged in no activity of

   any kind related to them.

23. I have no contacts with the State of Ohio or Plaintiff Lisinski (the sole Ohio Plaintiff)

   related to this matter. Therefore, I lack sufficient contacts with the State of Ohio to support

   the personal jurisdiction of the United States District Court for the Southern District of

   Ohio to support that court’s issuance of a subpoena to me in that venue.

24. I did not and have not harassed Plaintiff Lozano, or any of the other Plaintiffs, as alleged

   in the Complaint, am I not listed as a defendant in their case, and I have no contacts with
